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                             UNITED STATES DISTRICT COURT
11
                           CENTRAL DISTRICT OF CALIFORNIA
12
13    MARIA CHONA RODRIGUEZ, an                    CASE No. 8:16-CV-00059-JLS-KES
14    individual, on behalf of herself, and on
      behalf of all persons similarly situated,
15                                                 NOTICE OF MOTION AND
                                                   MOTION FOR PRELIMINARY
16                  Plaintiff,                     APPROVAL OF CLASS
                                                   SETTLEMENT
17    vs.

18    EL TORO MEDICAL INVESTORS                    Judge: Hon. Josephine L. Staton
      LIMITED PARTNERSHIP, a Limited
19    Partnership; LIFE CARE CENTERS               Hearing Date: December 8, 2017
      OF AMERICA, INC., a Corporation;             Hearing Time: 2:30 p.m.
20    and DOES 1 through 50, inclusive,

21                                                 Action Filed: January 15, 2016
                    Defendants.
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            NOTICE OF MOTION AND MOTION FOR PRELIMINARY APPROVAL OF CLASS SETTLEMENT
                                                                        Case Nos.8:16-CV-00059
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 1   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 2         PLEASE TAKE NOTICE THAT on December 8, 2017, at 2:30 p.m. in the
 3   United States District Court for the Central District of California, located at the
 4   Ronald Reagan Federal Building and United States Courthouse, 411 W. Fourth St.,
 5   Santa Ana, CA, 92701, in Courtroom 10A before the Honorable Josephine L.
 6   Stanton, Plaintiff Maria Rodriguez ("Plaintiff") will move for preliminary approval of
 7   the proposed Class Settlement with defendant El Toro Medical Investors, L.P. and
 8   defendant Life Care Centers of America, Inc. ("Defendants"). This motion is
 9   unopposed as based on the Class Action Settlement Agreement ("Agreement")
10   between the parties filed concurrently with this motion.
11         The motion will be based on this Notice of Motion and the attached
12   Memorandum of Points and Authorities filed herewith, the Declaration of Kyle
13   Nordrehaug and attached exhibits, the argument of counsel and upon such other
14   material contained in the file and pleadings of this action. Because all parties have
15   agreed to the settlement, this motion is not opposed by any party.
16         Pursuant to Local Rule 7-3, the parties engaged in a pre-filing conference on
17   September 27, 2017 in which the parties agreed on the filing of the unopposed
18   motion.
19         Respectfully submitted,
20
21   Dated: October 10, 2017          BLUMENTHAL, NORDREHAUG & BHOWMIK
22                                    By:     /s/ Kyle Nordrehaug
                                             Norman B. Blumenthal
23                                           Kyle R. Nordrehaug
                                             Attorneys for Plaintiff
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          NOTICE OF MOTION AND MOTION FOR PRELIMINARY APPROVAL OF CLASS SETTLEMENT
                                             -1-                      Case Nos.8:16-CV-00059
